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         CLEIU,l'.S DISTRICT fOIRT
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         05/29/2020                                                                                                             --         _
      CFp'7RA6 DISTRICT OF Gi.IFOR~7A
                                          United States Dist~•ict Court
        B~'~      ~`°       ~~n                 SUUTHERti DISTRICT OH CALIFORtiIA


                   tJ1~'1TL'•D S'fAT'LS OF A:~1ER]CA
                                                                                          WARRANT FOR ARREST
                                         v.
                        Alt'1'1-lUR CiO1~ZAf,)3/_, JR.                                 CascN~intbcr:             l7CR1G91-I31~?~


                                                                                       IVUT FOR PUBLIC VIEW
     To:        1'hc iJnited States Marshal
                and anv Auihorizcd United States Officer
               1'OU ARC f-IER~BY COVE\gA~'DED to an•cst                                    ARTHUR GONLALCL.,rR.
                                                                                                   r~~„~
     and b,•ine him o~• her fonh~vith to the nc:srest m:,gistrate to ans~~~cr a{n)

     ❑ indicuncnt        ❑Information ❑Complaint             ~ Ordcr of Court         ❑Violation \oticc        ❑Probation Violation I'ctition
                                                                                                               Q Pretrinl \Jialmion
     char;,~in~ hull or hC1' ~t~llh (bricfdcscriptiou of offense):
     f:1 :2~#(a)(2)(B)(iii):18:2                                                                                         _
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     In violation of Titie               See Above             United Stztcs Cc~dc. 5cction(s)                         `''           .~
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     Jo1~n ~~forril                                                      Clerk of the Court
    \mnc of[ss:~ing OfT                                                  Title of Issuing Ofticcr

    S~ r~.~~t. LOPL-% ~-~r                                               l 0la 1117      SAN DIrGO CALII~QIt\'LA
    Sign;,n~:~ of Ucput~~                                                         Location

    f3~ail (i~cd at ~                    ~iG SAIL                       by            'I'hc lionorable B~RT~'ARD G. SKOMAE.
                                                                                                    dame ofJudicill Officer


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     This ~carrani tiv;u recci~•cd aad c.~cculed «~itb the arrest ofthe above-uarncd dtfcndnnt nt

     D.4'fli ftECGiVED                  \~1~46 A~D'fll'LG OJ' ARKL'S'1'I\G Ui'i~ICL•it        SIG~I:~T[iRE Or ARRESTI\G OrfICER

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